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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


FRANDO J. WEBB,

              Plaintiff,

vs.
                                                  CIVIL ACTION NO.: 2:17-cv-30
PORTFOLIO RECOVERY ASSOCIATES,
LLC

              Defendant.


                                  NOTICE OF REMOVAL

TO THE HONORABLE JUDGES AND CLERK OF THE UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF CONNECTICUT.

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446,

Defendant, Portfolio Recovery Associates, LLC (“Defendant”), hereby removes the above-

captioned action to this Court based upon the following supporting grounds:

         1.   On or about November 22, 2016, the above action was filed in the Connecticut

 Superior Court Small Claims Session. The caption of the complaint is as follows: Frando J.

 Webb v. Portfolio Recovery Associates, LLC.

         2.   A copy of the Plaintiff’s Small Claims Writ and Notice of Suit and all other

 process and pleadings served on the Defendant is attached as Exhibit A.

         3.   The Defendant was served with the Small Claims Writ and Notice of Suit on or

 about December 8, 2016.

         4.   Removal is timely under 28 U.S.C. § 1446(b), as fewer than 30 days have elapsed

 since the Defendant was served with process. See, e.g., Murphy Bros, Inc. v. Michetti Pipe

 Stringing, Inc., 526 U.S. 344, 350-51 (1999) (“one becomes a party officially, and is required




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 to take action in that capacity, only upon service of a summons or other authority-asserting

 measure stating the time within which the party served must appear and defend”).

            5.   Removal of this action to this Court is permissible pursuant to Federal question

 jurisdiction under the provisions of 28 U.S.C. § 1441(a) because it is a civil action founded on

 a claim or right arising under the laws of the United States, to wit, the Fair Debt Collection

 Practices Act (“FDCPA”). (Ex. A, p. 4) (“This action is being brought under the Fair Debt

 Collection Act.”)

            6.   The FDCPA expressly provides that “[a]n action to enforce any liability created

 by this title may be brought in any appropriate United States District Court without regarding

 the amount in controversy.” See 15 U.S.C. § 1692k(d); see also Gardner v. TBO Capital LLC,

 986 F. Supp. 2d 1324, 1329 (N.D. Ga. 2013) (“It is undisputed that the Court has Federal

 question subject-matter jurisdiction over plaintiffs’ FDCPA claim.”); Clayton v. EMC Mortg.

 Corp., 2010 WL 1817341 at *1 (M.D. Fla. May 5, 2010) (“The Amended Complaint clearly

 alleges a claim under the FDCPA, and, therefore, provides federal question jurisdiction.”).

       7.        Plaintiff also asserts claims under the Fair Credit Reporting Act (“FCRA”). (Ex.

A, p. 4). The FCRA expressly provides that “[a]n action to enforce any liability created under

this subsection may be brought in any appropriate United States District Court, without regarding

to the amount in controversy.” See 15 U.S.C. § 1681p; see also Washington v. Direct Gen. Ins.

Agency, 130 F. Supp. 2d 820, 823 (S.D. Miss. 2000) (“actions brought in state court under the

FCRA are removable to Federal district court.”).

       8.        In accordance with 28 U.S.C. § 1446(d), written notice of the filing of this

removal notice will be given to the Plaintiff, and will be filed with the Clerk of Courts for the

Connecticut Superior Court Small Claims Session following the filing of this notice.



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        WHEREFORE, the Defendant, Portfolio Recovery Associates, LLC, hereby removes this

action from the Connecticut Superior Court Small Claims Session, to the United States District

Court for The District of Connecticut.

                                         Respectfully submitted,
                                         Portfolio Recovery Associates, LLC

                                         By Its Attorney,

                                            /s/ Marissa I. Delinks
                                         Marissa I. Delinks, CT #29369
                                         mdelinks@hinshawlaw.com
                                         HINSHAW & CULBERTSON LLP
                                         28 State Street, 24th Floor
                                         Boston, MA 02109-1775
Date:    January 6, 2017                 617-213-7000


                                 CERTIFICATE OF SERVICE

        I, Marissa I. Delinks, hereby certify that the documents filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF). A copy of this document will also be sent by first class mail as follows:

Frando Webb
23 Ward Place
Hartford, CT 06106

                                                      /s/ Marissa I. Delinks_______________
                                                      Marissa I. Delinks




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